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                      UNITED STATES COURT OF APPEALS                        FILED
                             FOR THE NINTH CIRCUIT                           DEC 6 2021
                                                                        MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
 CINNAMON MILLS, individually on a                No.    21-80111
 representative basis, and on behalf of all
 others similarly situated,                       D.C. No.
                                                  5:20-cv-01460-JGB-KK
                   Plaintiff-Respondent,          Central District of California,
                                                  Riverside
  v.
                                                  ORDER
 TARGET CORPORATION,

                   Defendant-Petitioner.

 Before: O’SCANNLAIN and THOMAS, Circuit Judges.

       Petitioner’s motion for leave to file a reply (Docket Entry No. 8) is granted.

 The reply has been filed.

       The petition for permission to appeal pursuant to 28 U.S.C. § 1292(b) is

 granted. Respondent’s cross-petition, contained in its answer to the petition, is

 granted. See Central Delta Water Agency v. United States, 306 F.3d 938, 952 n.10

 (9th Cir. 2002) (“[W]hen a district court order is certified for appeal pursuant to 28

 U.S.C. § 1292(b) . . . the entire order is certified for appeal.”). The Clerk will open

 cross-appeals and within 14 days after the date of this order, the parties shall

 perfect their respective appeals in accordance with Federal Rule of Appellate

 Procedure 5(d).




 KWH/MOATT
